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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

SAMANTHA RAJAPAKSE,

              Plaintiff,                              Case No. 16-cv-13144
                                                      Hon. Matthew F. Leitman
v.

CREDIT ACCEPTANCE CORP.,

           Defendant.
_______________________________________________________________________/

                                    JUDGMENT

       In accordance with the Order (1) Adopting Magistrate Judge’s Recommended

Disposition, (2) Granting Defendant’s Motion to Compel Arbitration. (3) Terminating

Plaintiff’s Motions for Injunctive Relief and for Summary Judgment as Moot, and (4)

Dismissing Complaint Without Prejudice, dated August 23, 2017,

       IT IS ORDERED AND ADJUDGED that judgment is entered in favor of Defendant

and against Plaintiff.

                                               DAVID J. WEAVER
                                               CLERK OF COURT


                                       By:     s/Holly A. Monda
                                               Deputy Clerk
Approved:

s/Matthew F. Leitman
MATTHEW F. LEITMAN
United States District Judge


Dated: August 23, 2017
Detroit, Michigan
